Case 1:19-cv-00662-CFC Document 381 Filed 08/07/23 Page 1 of 4 PagelD #: 19863

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

CAREDX, INC., )
Plaintiff,

v. C.A. No. 19-662 (CFC)
NATERA, INC.,
Defendant.

+~PROPOSED[ FINAL JUDGMENT

WHEREAS, Plaintiff/Counterclaim Defendant CareDx, Inc. (“CareDx’’)
brought this Lanham Act and state-law action against Defendant/Counterclaim
Plaintiff Natera, Inc. (“Natera’”) alleging that Natera engaged in false advertising and
unfair competition (D.I. 45);

WHEREAS Natera brought counterclaims against CareDx alleging that
CareDx engaged in false advertising and unfair competition and seeking declaratory
judgments as to CareDx’s claims (D.I. 159);

WHEREAS Natera did not pursue its counterclaim for tortious interference
with prospective economic advantage at trial;

WHEREAS the Court held a jury trial from March 8-14, 2022, and the jury
returned a verdict on March 14, 2022 (D.I. 329);

WHEREAS, on July 17, 2023, the Court denied CareDx’s Motion for

Judgment as a Matter of Law as to one of Natera’s advertising claims (D.I. 373);
Case 1:19-cv-00662-CFC Document 381 Filed 08/07/23 Page 2 of 4 PagelD #: 19864

WHEREAS, on July 17, 2023, the Court granted Natera’s Motion for
Judgment as a Matter of Law as to CareDx’s Lanham Act claim insofar as it sought
damages and as to CareDx’s common law unfair competition claim in its entirety,
and granted a conditional new trial on CareDx’s damages and unfair competition
claims (D.I. 374, 375);

WHEREAS, in light of the jury’s March 14, 2022 verdict and for the reasons
stated in the Court’s Memorandum Order and Memorandum Opinion of July 17,
2023 (D.I. 373, 374);

IT IS HEREBY ORDERED AND ADJUDGED this ff day of August,
2023, that:

A. Final judgment is entered in favor of CareDx and against Natera on
CareDx’s Lanham Act, 15 U.S.C. § 1125(a) (Count I of the Amended Complaint
(D.I. 45)), and Delaware Uniform Deceptive Trade Practices Act, 6 Del. C. §§ 2532
(Count III of the Amended Complaint) claims.

B. Final judgment is entered in favor of CareDx and against Natera on
Natera’s counterclaims for declaratory judgments of (a) no Lanham Act false
advertising and (b) no violation of the Delaware Uniform Deceptive Trade Practices
Act (Counts I and III of Natera’s Amended Counterclaims (D.I. 159)); common law

unfair competition (Count VI of Natera’s Amended Counterclaims); and violation
Case 1:19-cv-00662-CFC Document 381 Filed 08/07/23 Page 3 of 4 PagelD #: 19865

of the Delaware Uniform Deceptive Trade Practices Act, 6 Del. C. §§ 2532 (Count
VII of Natera’s Amended Counterclaims).

C. Final judgment is entered in favor of Natera and against CareDx on
CareDx’s claim for damages for all claims.

D. Final judgment is entered in favor of Natera and against CareDx on
CareDx’s common law unfair competition claim (Count II of the Amended
Complaint).

E. Final judgment is entered in favor of Natera and against CareDx on
Natera’s counterclaim for declaratory judgment of no common law unfair
competition (Count II of Natera’s Amended Counterclaims).

F, __ Final judgment is entered in favor of Natera and against CareDx on
Natera’s Lanham Act, 15 U.S.C. § 1125(a), claim (Count IV of Natera’s Amended
Counterclaims).

G. In the event that the Judgments set forth in any of Paragraphs C, D or
E are vacated or reversed on appeal, a new trial is granted on those issues, insofar as
an appeals court has not foreclosed a new trial.

H. Natera’s counterclaim for tortious interference with prospective
economic advantage (Count V of Natera’s Amended Counterclaims) is dismissed

with prejudice.
Case 1:19-cv-00662-CFC Document 381 Filed 08/07/23 Page 4 of 4 PagelD #: 19866

7
LAF @_.
The Honorable Colmy Connolly
Chief United States District Judge

